uniq;€§§stll'i%t 634§1<:%?)1=1‘?9%3% iz€s|bqnodé€z?h/]l)€lsrl:;?(giet}rcgi§)nn)A

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_H_A_PLE_____I_J Pl,AN (lndivitlual Adi_nsgi_i enf ol` l)ebt_s)
m Original Plan
iii l /\mended l’lan (Indicate lst` 2nd, etc. /\tnended. it'applicable)
|:l Modit`ied P|an {lndicate lst. an, etc. l`\/lodil”ied, it"app|ieahle}
lJEB'l`OR: Juan Sen'ano JOlN'l` DEBTOR: - CASE NO.: l7:?3t)lo ___
SS#: Xxx-Xx- 0903 SS#: xxx»xx~
I. _l_\lQ_TlCES
To Debtors: P|ans that do not cotnpiy With local rules andjudicial rulings may not be contirinah|e. All ptans_ amended plans
and modified plans shall be served upon all creditors and a certificate of"sez'vice l`iled with the (T|ei'|< pursuant to
hocal Ruies 2002~1 (C)(S}. 3015-| (B)(Z)` and 3()15-2. l)ebtor(s) must commence plan payments within _“»{) dn_\'s ot'
filing the chapter 13 petition or within 30 days ol`entr_v ol` the order converting the case to chapter |,'S.
To Creditors: Your rights may be affected by this p|an. You must li|e a timely prooi`ot`clai:n in order to he paid Your claim ina_\‘
be reduced modified or eliminated
'l`o All Parties: The plan contains no nonstandard provisions other than those set out in paragraph Vlll_ Dehtor(s) must cheek one
box on each line listed below in this section testate v\-'hether the plan includes any ol`the following
'I`he valuation ot`a secured elaim, set out in Section lH, which may result in a 7 jim v n .
_. _ . [ ] lnc|uded [l| Not included
paitial payment or no payment at all to the secured creditor w _ n www WWWFWWV :'W__ ______ ___ _ w 7
A'g f * -~iz_- ».--'-'~--~~t _ .. .
void'tncelo a_iudic:'i£ hen 01 nonposscssoiy, nonme 1 isc money secui ity intciest, st l j lncludcd ['] Nm included
out in SeCtton lIl _~ "
Nonstandard pt'ovisions, set out in Section Vlll [_:\ locluded [l| Nt)t included
Il. E_LAN PAYMENTS. LEN_G_”_[I__|_ OF PLAN AND DEBTOR(S)'_.A.TTQRNH,Y‘SrI;`,I"LEV
A. MONTHLY_RLAN PAYMF.M[: This P|an pays l`or the benefit ot`the creditors the amounts listed below including trustees
t°ees of` IO%, beginning 30 days from the filing/conversion date fn the event the trustee does not retain the full ll}‘£i»_ any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the p|an:
l. 31,469.12 t`or months l to 2 ;
2. 51`484.52 t`or months 3 to l5
3. $l`459.66 l`or months l() towf)_()_;
B. DF,B'I`()R(S]_' AT'I`ORNEY‘S_ FE|C: [:] N()Nl'l [:] l)l{{) lSON()
Tota| Fees: $3500.00 Total Paid: $200().0() Balance l)ue: 5 l 500.()0
Payablc $100.00 /ntonth (l`vlonths ; to f )
Payable finonth (l\/lonths _ to _ )
A|lowed fees under LR 2016-1(}3)(2) are itemized below:
33,500 Chapter l3 Case
Applications for compensation must be filed for all fees over and above the Court's Guidetines t`or Cotnpensation.
ll l. j`,KE./\IM_EDF_”L_QF. SE__QUB._I'_;_D___(_:_L_A !M_S_

 

A. s_r.m<:_u_nt~;_r)__eitt\_lms: E N<)NH

I- Cl`edi[m'? Broward County Records. `l`axes and Ti'easuiy

Addl'CSSI l 15 S AHdE'eWS/\VE;/\ 100 A|-i~e;irnge/ l’n}'ol‘l`on [’clitio:t l}uli.' l§_'l_?é_l.']§» including lS'l/t.
10 ' - F '_“'___"‘_--_`--_- ~-ki‘¢ ¢¢~~r…,..\... t . . . _ _
19 Laude|dalc` L A""L`m`$ P'*ll"m¢"l l(`ll"€] $3th.l)7 ."monlh [h’lonlhs l to t)t) l
_).)JOl ,,…_it…. .i ‘..___
Arrears Pa)‘ment [{,‘tn'e] m__ finonih t:'\lonihs 7 to i

t.i-'-;l nw in=_t:'i?j l‘=tttl‘ l 1)¢`3

CaSe 17_23646_`]}<0 DO[S;el§nOr(s): |l:tl!i§q 02 123/18 Page 2 Of 2 (.`ase number: _l'.-`~.`£So-ln

L‘l`l"<ll (
D. SURRENDER OF C()LLATFIRAL: Sectired claims filed by any creditor granted stay re|ict" in this section shall not reeei\-e n
distribution t`oin the Chapter 13 'l"rnstee.

l:| NONE
E. l)IREC'l;`_,I?_/\_YVMEI\¥TIS: Sccul'cd claims filed by any creditor granted stay reliel` iii this section shall not receive a distribution
t"oni tire Chapter 13 Ti'ustee.

l:] NONE
lV. TREAT|VIENT OF FEES AND PRIORIT\;'_(__§_LAIMS las defined in |1 U.S.C. §507 and | | U.S.C. § |322(21`)(11)[
A. ADMINIST`RATIVE F`F.ES Q_THER TIIAN DE_B_I___QB§(S)Y_AIT(_)_RUE_Y_'_~S__EEE: iii NON[~`.
B. watts/tc Rr.vsi\iue,ss.is\_ttc_t;: tit NONI€
C. DOMESTIC SUI’PORT OBL]¢GATI()N(,§l: [:l] NONI€
D. OTHER: @ NONF.
V. IBEATMENT` ()F UNSF.CURED N()HI’RlOBITV CR|§DI’I`()RS
A. Pay $77.40 /nionth (i\/lonths _l§H to”_§t)m }
Pay /'niontli (l‘\/lonths __ to___ )
Pro rata dividend will be calculated by the Trnstce upon review t)l` l`iled claims ai`ter bar date.
B. §!__l li`checl<ed. the l)ebtoi'(s) will amend/modify to pay 1000/n to all allowed unsecured nonpriority claimsl
C~ MA_RA_'LE_LY_Ue/_\ S_S.l_l"_l,_l:"'._ll.' l:I NONE
*Debtor(s) certify the separate ciassii`ication(s) ot`the claiin(s) listed above will not prejudice other unsecured nonpriori`t_\l

creditors pursuant to l l U.S.C. § |322.
\»'I. EXECUTORY §QNTRACTS ANI_)__U_NEXI’IRI-§D___IJ_E_ASE,S: Sectii'cd claims liled by any creditor’lessoi' granted stay reliet`in ilii`.

section shall not receive a distribution l"ront the Chaptcr 13 Trustec.
ii NONE

VII. INCOME TAX RE_ZTURNS AN])_REF_I_JNDS: :| NONE
il Debtor(s) will not provide tax returns unless requested by any interested party pursuant to l ! t,‘.-S.t'_`. §- 52 lt

VlII. NON~STANDARD PLAN PROVIS[ONS E| NONE

PROPF,RT\’ OF THE ESTATE Wll.ili VF,ST IN THE I)EBTOR(S) Ul’()N 1’1‘/\1\1 C()N{"lRl\/IATI()N.

1 declare that the foregoing chapter 13 plan is true and correct under penalty of`peijuty.

/s/ Juan F Serrano Debtor 2/33/2()]3 Joint i)cbtor

rkth jiffy 7 n ll)£lltl

 

_luau Serrano

i_’s_il Ricarclo Corona, Esq. 2:"23!2018
Attorney with permission to sign on Date
Debtor{s)' behalf

By filing this document, the Attoi'ney for I)ebtor(s) or l)ebtor(s), il' not represented by eotinscl, certil"ies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in lineal Forni Chapter 13 l’lan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

l.F-.`»l trev iU 3`1?) l’ni:e 3 ol`.l

